                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    CHATTANOOGA
 Case #: 1:22-cv-191                                                       Date: July 19, 2022

               Volkswagen Group of America
               Chattanooga Operations, LLC
                                                 vs.    Saargummi Tennessee, Inc.

 PROCEEDINGS: TRO Hearing. Due to the timing of this hearing, the Court provisional
 admitted defense counsel to participate. Should they continue to represent the Defendant, Attorneys
 O’Neill and Orgel are to file appropriate notice and/or motion to properly proceed in this case.
 Arguments heard. The Court denied the TRO. An In Person Preliminary Injunction Hearing is set
 for July 26, 2022 at 2:00 p.m. in Courtroom 1A – Knoxville. All briefing is to be filed by 7/22/2022
 at 5:00 p.m. Order to follow.

  THE HONORABLE CHARLES E. ATCHLEY, JR., UNITED STATES DISTRICT JUDGE

 Jason Huffaker                                                     Kara Nagorny
 Deputy Clerk                                                       Court Reporter

 Timothy M. Gibbons/Cathy S. Dorvil                                 James O’Neill/Rob Orgel
 Attorneys for Plaintiff                                            Attorneys for Defendant




 3:03 – 3:46
 4:10 – 4:14



Case 1:22-cv-00191-CEA-CHS Document 11 Filed 07/19/22 Page 1 of 1 PageID #: 798
